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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF GEORGIA
                             COLUMBUS DIVISION

MICHAEL SMALL,

      Plaintiff,

v.                                            CASE NO.:

BLUESTEM BRANDS, INC., d/b/a
FINGERHUT,

      Defendant.
                                 /

                COMPLAINT AND DEMAND FOR JURY TRIAL

      COMES NOW, Plaintiff, Michael Small, by and through the undersigned

counsel, and sues Defendant, BLUESTEM BRANDS, INC., d/b/a FINGERHUT,

and in support thereof respectfully alleges violations of the Telephone Consumer

Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                 INTRODUCTION

       1.       The TCPA was enacted to prevent companies like BLUESTEM

BRANDS, INC., d/b/a FINGERHUT (hereinafter “Defendant”) from invading

American citizen’s privacy and to prevent abusive “robo-calls.”




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      2.       “The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740 (2012).

      3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

*1256 scourge of modern civilization, they wake us up in the morning; they

interrupt our dinner at night; they force the sick and elderly out of bed; they hound

us until we want to rip the telephone out of the wall.” 137 Cong. Rec. 30, 821

(1991).     Senator Hollings presumably intended to give telephone subscribers

another option: telling the autodialers to simply stop calling.” Osorio v. State

Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

      4.       According to the Federal Communications Commission (FCC),

“Unwanted calls and texts are the number one complaint to the FCC. There are

thousands of complaints to the FCC every month on both telemarketing and

robocalls. The FCC received more than 215,000 TCPA complaints in 2014." Fact

Sheet: Wheeler Proposal to Protect and Empower Consumers Against Unwanted

Robocalls, Texts to Wireless Phones, Federal Communications Commission, (May

27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.




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                           JURISDICTION AND VENUE

       5.      Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action

involves violations of the TCPA.

       6.      Subject matter jurisdiction, federal question jurisdiction, for purposes

of this action is appropriate and conferred by 28 U.S.C. § 1331, which provides

that the district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States; and this action

involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin.

Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746

F.3d 1242, 1249 (11th Cir. 2014).

      7.       The alleged violations described herein occurred in Marion County,

Georgia. Accordingly, venue is appropriate with this Court under 28 U.S.C.

§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                            FACTUAL ALLEGATIONS

      8.       Plaintiff is a natural person, and citizen of the State of Georgia,

residing in Marion County, Georgia.



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      9.       Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A.,

755 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d

1242 (11th Cir. 2014).

      10.      Defendant is a corporation with its principal place of business located

at 7075 Flying Cloud Drive, Suite 300, Eden Prairie, Minnesota, 55344, whose

registered agent is CT Corporation System, Inc., 1010 Dale Street North, St. Paul,

Minnesota 55117 and which also conducts business in the State of Georgia.

      11.      Defendant called Plaintiff approximately one hundred (100) times in

an attempt to collect a debt.

      12.      Upon information and belief, some or all of the calls Defendant made

to Plaintiff’s cellular telephone number were made using an “automatic telephone

dialing system” which has the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator (including but not limited to

a predictive dialer) or an artificial or prerecorded voice; and to dial such numbers

as specified by 47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will

testify that his knew it was an autodialer because of the vast number of calls he

received and because he heard a pause when he answered his phone before a voice

came on the line from Defendant.



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      13.    Plaintiff is the subscriber, regular user and carrier of the cellular

telephone numbers (706) ***-6969 and (229) ***-3752, and was the called party

and recipient of Defendant’s calls.

      14.    Defendant placed an exorbitant number of automated calls to

Plaintiff’s cellular telephone numbers (706) ***-6969 and (229) ***-3752 in an

attempt to collect on a debt.

      15.    On several occasions over the last year, Plaintiff instructed

Defendant’s agent(s) to stop calling his cellular telephone.

      16.    Upon receipt of the calls from Defendant, Plaintiff’s caller ID

identified the calls were being made from, but not limited to, the following

telephone numbers: (855) 895-3382, (844) 349-6207, and (844) 349-8918.

      17.    In or about February 2018, Plaintiff answered a phone call from

Defendant to his aforementioned cellular telephone.            Plaintiff, spoke to an

agent/representative of the Defendant and informed the agent/representative that he

wished for the phone calls to cease.

      18.    In or about April 2018, Plaintiff again answered a phone call from

Defendant to his aforementioned cellular telephone.              Plaintiff spoke to an

agent/representative of the Defendant and told the agent/representative: “please

stop calling, I’m feeling sick and ya’ll are making it worse.”

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      19.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice to individuals just as they did to

Plaintiff’s cellular telephone in this case.

      20.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s

cellular telephone in this case, with no way for the consumer, or Defendant, to

remove the number.

      21.    Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do

not wish to be called.

      22.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

      23.    Defendant has numerous complaints against it across the country

asserting that its automatic telephone dialing system continues to call despite being

requested to stop.

      24.    Defendant has had numerous complaints against it from consumers

across the country asking to not be called, however Defendant continues to call

these individuals.



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       25.      Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant call list.

       26.      Defendant has a corporate policy to harass and abuse individuals

despite actual knowledge the called parties do not wish to be called.

       27.      Not one of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       28.      Defendant willfully and/or knowingly violated the TCPA with respect

to Plaintiff.

       29.      From each and every call placed without express consent by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of

privacy and the intrusion upon his right of seclusion.

       30.      From each and every call without express consent placed by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation

of her cellular telephone line and cellular phone by unwelcome calls, making the

phone unavailable for legitimate callers or outgoing calls while the phone was

ringing from Defendant call.

       31.      From each and every call placed without express consent by

Defendant to Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary

expenditure of his time. For calls he answered, the time she spent on the call was

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unnecessary as he repeatedly asked for the calls to stop. Even for unanswered calls,

Plaintiff had to waste time to unlock the phone and deal with missed call

notifications and call logs that reflect the unwanted calls. This also impaired the

usefulness of these features of Plaintiff’s cellular phone, which are designed to

inform the user of important missed communications.

      32.    Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone was an injury in the form of a nuisance and annoyance to the

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary

trouble of answering them. Even for unanswered calls, Plaintiff had to waste time

to unlock the phone and deal with missed call notifications and call logs that

reflected the unwanted calls. This also impaired the usefulness of these features of

Plaintiff’s cellular phone, which are designed to inform the user of important

missed communications.

      33.    Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of unnecessary expenditure of

Plaintiff’s cell phone’s battery power.

      34.    Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone where a voice message was left which occupied space in

Plaintiff’s phone or network.

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       35.    Each and every call placed without express consent by Defendant to

Plaintiff’s cell phone resulted in the injury of a trespass to Plaintiff’s chattel,

namely her cellular phone and her cellular phone services.

       36.    As a result of the calls described above, Plaintiff suffered an invasion

of privacy. Plaintiff was also affect in a personal and individualized way by stress,

embarrassment, and raised blood pressure.

                                       COUNT I
                                (Violation of the TCPA)

       37.    Plaintiff fully incorporates and re-alleges paragraphs one (1) through

thirty-six (36) as if fully set forth herein.

       38.    Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone

after Plaintiff notified Defendant that Plaintiff wished for the calls to stop

       39.    Defendant repeatedly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system or

prerecorded or artificial voice without Plaintiff’s prior express consent in violation

of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).




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      WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against BLUESTEM BRANDS, INC., D/B/A

FINGERHUT for statutory damages, punitive damages, actual damages, treble

damages, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

                                      Respectfully submitted,

                                       /s/Octavio Gomez
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